                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

NEELEY ENGINEERING AND                           )
CONTRACTING LLC.,                                )
                                                 )
       Plaintiffs,                               )
                                                 )
v.                                               )          Civil Action No. 3:20-cv-00415
                                                 )          Chief Judge Crenshaw
WONDER PORCELAIN GROUP, LLC,                     )          Magistrate Judge Frensley
d/b/a AMERICAN WONDER                            )          Jury Demand
PORCELAIN, Individually and as                   )
Statutory Trustee on Behalf of                   )
Neely Engineering & Contracting, LLC,            )
                                                 )
       Defendant.                                )

                     JOINT NOTICE OF SCHEDULING MEDIATION

       The Plaintiff, Neely Engineering & Contracting, LLC, and the Defendant, Wonder

Porcelain Group, LLC d/b/a American Wonder Porcelain, by counsel, and pursuant the Order

which the Court entered June 12, 2020 (Docket No. 13), now respectfully file this joint notice to

advise the Court that the parties have agreed to the selection of the Honorable John T. Blankenship

to serve as mediator pursuant to the Court’s order.

       The parties further notify the Court that they have agreed in consultation with the mediator

to schedule mediation for August 19, 2020, to commence at 9:00 a.m. CST in Nashville,

Tennessee.




                                                1
     Case 3:20-cv-00415 Document 14 Filed 06/22/20 Page 1 of 3 PageID #: 94
                               Respectfully submitted,

                               REID LEITNER LAW GROUP, PLLC


                               By:    /s/ Reid D. Leitner
                                      Reid D. Leitner, Esq. / BPRN 16187
                                      Matthew J. Anderson, Esq. / BPRN 34909
                                      David H. Wood, Esq. / BPRN 35489
                                      201 Fourth Avenue North, Suite 1470
                                      Nashville, Tennessee 37219
                                      Telephone: (615) 933-7900
                                      Facsimile: (629) 888-4185
                                      reid.leitner@reidleitnerlaw.com
                                      matt.anderson@reidleitnerlaw.com
                                      david.wood@reidleitnerlaw.com

                                      Attorneys for Plaintiff
                                      Neely Engineering & Contracting, LLC



                               BAKER, DONELSON, BEARMAN,
                               CALDWELL & BERKOWITZ, PC


                                                               With permission
                               By:    /s/ Albert L. Chollet    Reid D. Leitner
                                      Christopher M. Caputo, Esq. / BPRN 20000
                                      Albert L. Chollet III, Esq. / BPRN 24356
                                      Paul Madden, Esq. / BPRN 37588
                                      Baker Donelson Center
                                      211 Commerce Street, Suite 800
                                      Nashville, Tennessee 37201
                                      Telephone: (615) 726-2600
                                      Facsimile: (615) 726-0464
                                      achollet@bakerdonelson.com
                                      ccaputo@bakerdonelson.com
                                      pmadden@bakerdonelson.com

                                      Attorneys for Defendant
                                      Wonder Porcelain Group, LLC d/b/a
                                      American Wonder Porcelain




                                  2
Case 3:20-cv-00415 Document 14 Filed 06/22/20 Page 2 of 3 PageID #: 95
                                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the Notice of Setting Mediation has been
forwarded by electronic means via the Court’s electronic filing system or by U.S. Mail, postage
prepaid, to:

                    Christopher M. Caputo, Esq.
                    Albert L. Chollet III, Esq.
                    Paul Madden, Esq.
                    BAKER, DONELSON, BEARMAN, CALDWELL
                     & BERKOWITZ, PC
                    P.O. Box 190613
                    Nashville, Tennessee 37219

                    John T. Blankenship    By U.S. Mail & Email: john@blankenshipadr.com
                    Blankenship ADR
                    2179 Edward Curd Lane
                    Franklin, Tennessee 37067



          This the 22nd day of June, 2020.


                                                            /s/ Reid D. Leitner
                                                            Reid D. Leitner


S:\NeelyEngineering\Pleadings\Mediation.not




                                                        3
      Case 3:20-cv-00415 Document 14 Filed 06/22/20 Page 3 of 3 PageID #: 96
